  Case 23-41368-bem               Doc 15 Filed 10/22/23 Entered 10/23/23 00:41:49                           Desc Imaged
                                       Certificate of Notice Page 1 of 3
                              UNITED STATES BANKRUPTCY COURT
                                   Northern District of Georgia
                                         Rome Division

In    Debtor(s)
Re:   Jerry Lee Parsons                         Case No.: 23−41368−bem
      496 Doe Trl                               Chapter: 7
      Resaca, GA 30735−6194                     Judge: Barbara Ellis−Monro

      xxx−xx−6583




      NOTICE REGARDING RESCHEDULING OF MEETING OF
              CREDITORS OF CHAPTER 7 DEBTOR

      Debtor did not appear at the previously scheduled Section 341 Meeting of Creditors. The Meeting of
Creditors has been rescheduled to:
    11/16/23 at 03:20 PM
    Meeting will be telephonic. To attend, Dial: 866−646−7791 and enter: 2122004, when prompted
for participation code..

      In accordance with 11 U.S.C. § 343 of the Bankruptcy Code, debtor must appear at the Meeting of
Creditors and submit to examination under oath. If debtor fails to appear at the rescheduled Meeting of
Creditors , the case may be dismissed without further notice or hearing, in accordance with General Order
No. 2 as entered by this Court on October 5, 2005.




Dated: October 20, 2023




                                                Vania S. Allen
                                                Clerk of Court




Form 424
       Case 23-41368-bem                      Doc 15 Filed 10/22/23 Entered 10/23/23 00:41:49                                            Desc Imaged
                                                   Certificate of Notice Page 2 of 3
                                                              United States Bankruptcy Court
                                                               Northern District of Georgia
In re:                                                                                                                 Case No. 23-41368-bem
Jerry Lee Parsons                                                                                                      Chapter 7
       Debtor
                                                      CERTIFICATE OF NOTICE
District/off: 113E-6                                                  User: bncadmin                                                              Page 1 of 2
Date Rcvd: Oct 20, 2023                                               Form ID: 424                                                               Total Noticed: 7
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Oct 22, 2023:
Recip ID                 Recipient Name and Address
db                       Jerry Lee Parsons, 496 Doe Trl, Resaca, GA 30735-6194
24450741               + Advent Health Gordon, 1035 Red Bud Rd NE, Calhoun, GA 30701-6011
24450742                 Adventist Health System GA Inc., 1035 Red Bud Rd NE, Calhoun, GA 30701-6010
24450743                 Emory Healthcare, 550 Peachtree St NE, Atlanta, GA 30308-2247
24450744                 Hamilton Medical Center, 1200 Memorial Dr, Dalton, GA 30720-2529
24450745               + North Park Hospital, 2051 Hamill Rd, Hixson, TN 37343-6614

TOTAL: 6

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                  Notice Type: Email Address                                    Date/Time                 Recipient Name and Address
24450740                  Email/Text: bankruptcynotices@aarons.com
                                                                                        Oct 20 2023 20:32:00      Aaron Rents, 1015 Cobb Place Blvd NW,
                                                                                                                  Kennesaw, GA 30144-3672

TOTAL: 1


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Oct 22, 2023                                            Signature:           /s/Gustava Winters




                                      CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on October 19, 2023 at the address(es) listed
below:
Name                                  Email Address
Dan Saeger
                                      on behalf of Debtor Jerry Lee Parsons dansaeger@gmail.com Saeger.DANB129629@notify.bestcase.com

Office of the United States Trustee
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District/off: 113E-6                                      User: bncadmin                  Page 2 of 2
Date Rcvd: Oct 20, 2023                                   Form ID: 424                   Total Noticed: 7
                          ustpregion21.at.ecf@usdoj.gov

Tracey L. Montz
                          tmontztrustee@gmail.com tlm@trustesolutions.net


TOTAL: 3
